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Attachment B
Case 2:19-cr-20026-GAD-EAS ECF No. 110-3 filed 09/05/19 PagelD.676 Page 2 of 4
From: santoshreddy sama
Sent: Thursday, October 26, 2017 1:42 PM
To: Ali Milani @UF

Subject: Transferred and paid fees
Case 2:19-cr-20026-GAD-EAS ECF No. 110-3 filed 09/05/19 PagelD.677 Page 3 of 4 |

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